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                                                                                                                                                                                                                                                    Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Coralogo for Moto G Stylus 5G 2022 Case (NOT FIT 4G) Smiley Face for Women Girls Girly Pretty Cute Mint Green Phone Cases Smile Design Aesthetic Cover+Screen+Chain for Motorola G Stylus 5G 2022 6.8" : Cell Phones & Accessories

   URL
   https://www.amazon.com/Coralogo-Moto-Stylus-2022-Motorola/dp/B0BGP4CLLP/ref=sr_1_33

   Collection Date
   Mon, 24 Apr 2023 10:01:31 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   rfbjP66cUFIH8c/Zjvb7x9w5LkC+V+YsTt/pl3mXWq5zP91jwp051jbMBssMs5OGMYcSLnmJ2TSSYWijBB8QcOgcpLoVz1RpTU08nzU6NshCvWU/YFfaryqWlJKXhN9RN/Jfx3S9nfyfDiY3fp8484DWfPRSZOIPvyQ9SojvLDo=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Coralogo-Moto-Stylus-2022-Motorola[fs]dp[fs]B0BGP4CLLP[fs]ref=sr_1_33]]_Mon,-24-Apr-2023-10-01-31-GMT.pdf

   Hash (SHA256)
   efbee1f69273f8f8f69c343f32b0fbeb769904d5c0c3a3b48301b24e39dc7bb8

   Signature (PKCS#1v1.5)
FUHv51Nh8b42q6Pr9enT7Gj2cJHpTjZSYmfwaNpHy4RtGa5VXiDA+XW527rzQnbMlnZlISlO+HHyrU6RMEG9hw+CM4FZVVZVC5nGRrOWwB2y774BrQ+QlhPDx5gCOUHCJcCbQKSPxMFw8WqhWSyctBaXJQkmY923QL6XgkV11wg=
                                                                                 Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 2 of 40



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 27 May 2023 08:16:39 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   mkv7xnkgnBwgcuuB5B1Br1bCk5ORJjoaaDLat5Y6ot9UCQVVqqZI5wnZAKES9UqixdrXaB685y4q9Lgj8Tkyn1JGUhgXmNemY+VQwtal3M6JvVnjVzn6q2iicp33EI+66U0Lyl4hHb4y8S6JP7S/
   G1bxoQjQHbVHq1mEpPUbWAkX4wcI28Wz9rS47SVbIAyxbA6jejQ5ENyoJjOTrJ5cCGnFKwYabDTMUB+zRt/6oMGXbuSMrcLG6MKaW8PbtY+G3muG4WfN37D99g1M4M/TT3dO3RxwviTZbysXJPHdaXs6Fr6OTxFYl00mSZ3z5+Dqm9OTeMIQkc2eBEYecAkEIQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-27-May-2023-08-16-39-GMT.mhtml

   Hash (SHA256)
   eb7d497110535fbf86d77bac176fdaafcc7f78908eef258718bd98dfa2cd1886

   Signature (PKCS#1v1.5)
QYAKwIKcAbGZ5tO85fa0ZsLFM4q9Umfb45QqDL/45eAmNxlmHnGxQhtF6+f+4bNcoBP7xRp0DEpaTuyvPiCrLH7FXfetvmizLOJ37X/g17Ow1fV4+6IK0aoyKfF0WFkAXcj9wB7rx6AnHKgxXEcdw2dWtfpQFebu9OrAKheED0xSD8CewSnzDCAOjUfb4ehSEnz28MSmJjMa120rtJO+z9UPX6brT+pG
+esu6j9vHjUijDV2CZiue/ArE0Ra7vyuilfA5oPOmMGX5r0OOVo8xmXogSQmmLZwnuWwHZciT7uRZvQLWiqg6rXJ1haaP44qqiXF4NJvzcWZJaCm9cxEVA==
                                                                                  Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 3 of 40



                                                                                                                                                                                                                                                        Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Surfer Heishi Smiley Face Beaded Bracelets for Women, Stackable Smile Evil Eye Preppy Stretch Bracelet Colorful Clay Bead Bracelets Aesthetic Bohemian Summer Beach Jewelry (E-Yellow Surfer Bracelet 7pcs): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Bracelets-Stackable-Bracelet-Colorful-Aesthetic/dp/B09WMC8PZM/ref=sr_1_29_sspa

   Collection Date
   Wed, 19 Apr 2023 07:40:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   rdGPdds/cJ6nItg8iJztIvF9F9Nk9CCQyrsWIMcb8HIMDOgr3UfpSignk6GulrJHppT4UZqFGL9s4vTOxBbiz4YOaZi16iQA3BmunTDG064XJFaqXSc4tNmICTWKCBn/wCUMR9IsWSMnMlmvUS6DoGTqy32YRT2qUngQ2P03c6g=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Bracelets-Stackable-Bracelet-Colorful-Aesthetic[fs]dp[fs]B09WMC8PZM[fs]ref=sr_1_29_sspa]]_Wed,-19-Apr-2023-07-40-48-GMT.pdf

   Hash (SHA256)
   181987b33a5ecc60205e62c48cb6d8f68828dbf44499422151dcc76934c0f8d1

   Signature (PKCS#1v1.5)
hNKaN6eeK2Z0go7SoLaWh0geiqej8TYgLFYTnLg63hCyJNr1zGmIviwdc8POc08k8m+Ik0JP8ckEg0ILKvgBcCSyWsxlc1cxQeuTSg9L4ZsTzQaKltYqVjcsJo4RXWKZmWx8Mw+CD0Pki4++zUaLdz0LfbOx+kBGyuoHqkUK8zE=
                                                                                  Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 4 of 40



                                                                                                                                                                                                                 Investigator Name: Sian Kelly




                                                                               Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 05 May 2023 09:07:45 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   u8z2O+S4DYkwF7j+qecYqveYIAd3wcdQEQsyDAgrj5rQtgrF3g9NSk3/NAFi84L4zswwgGAN7+d0BM0Yjo2CVN5w5f1a/0p8qT9kn/waDmglcEdpKl2YSSotrbim8unfr4IJRyAOuxzLhXZiwQllLHNpXmU4TjemLlhv7EO/ZN8kJESveT54tIRzIRPYmoOCryMP5Uy5loNd4spO
   +5JkCnH2Re8QqrN7ssr3XCOYnplCGMfrG25srK6uZpa7fWJNUpiYnEhrsVmASdjO6mTbjNH/1xrt0B3+TNayKxB/bBxgYRUOIte2nPl0vMC5bNCxU+ENldJC7d5CZWiHP//yRQ==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-05-May-2023-09-07-45-GMT.mhtml

   Hash (SHA256)
   f04fb8b7dea25077acc803c568cb9c95d12d8f93dfa4890b32482072f594ca94

   Signature (PKCS#1v1.5)
P3LoyR6MG6vK04kPNKKRTQ0jrOFiIkboNLrw7Mpt5rg1+esJRxd0kzuZHTTvBMaqSwePEb7kjLDQe71HdyClgjJ0hDJVwvmgtRda6FLLUVJjAZ8V08+xs11hhBZYmhZeJlI392PKm1Uw0SQNnwsCVzQzorOYakmh4bLPfLDGu0cxLIT1PBhRg94HYp8RGdlsieJjeEyq8H22l5hsDUConPoDco8IYRPC
QqHf6A4R3CFx7fjvA9I7yMg7DWxGq+YqOHP2myGd8qeq7w2d1X0Tsn6Nfb0xbHBJ5uB7wuU8wmnySWqKTz3Yla39WPQsOVzGobLt6Ed6tN8SdOB5zrUr/w==
                                                                                Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 5 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: HALOU Socks Women Soft Breathable Combed Cotton Socks Striped Flower Smiley Retro Cute Socks Autumn Winter Socks : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Breathable-Combed-Cotton-Striped-Flower/dp/B0BT97QJ27/ref=sr_1_8

   Collection Date
   Fri, 21 Apr 2023 09:53:07 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   XWHYivYbC4kh3rFqw1n32is8fC4056+PxQrC8bzqAJpJ2HBOa7urehXZ1rovkqLZSvT7wW5j7bLHfkA+PIgLnRTOtHlVHJYWT/0JoAxm4KUmnPjF3PPbtC64OYhVK6woDVqJowSgW02SMbbQYM8id6xUG+HSBZIuuiJZ1uJGHaM=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Breathable-Combed-Cotton-Striped-Flower[fs]dp[fs]B0BT97QJ27[fs]ref=sr_1_8]]_Fri,-21-Apr-2023-09-53-07-GMT.pdf

   Hash (SHA256)
   bb2bb7a04207de25f9fdafb127b7c5fe1c92846f490fafac42b8288701031249

   Signature (PKCS#1v1.5)
I8OKqSAE+Rc2r2OuingBujP61b9gX3uUaeprosRf/4TnUvx2usDd18/UhWh7PF+KyFJL040qYfEGA33M/J+u9vJZSe33hT/SeFz0C2SMSgc2MyjbUKw+KhbsFfGZrrsAH2VLxVK2MDIKQdUfQ1wO479a7ujzuofJfsqQhTEWiRI=
                                                                                Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 6 of 40



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 24 May 2023 03:31:31 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.80.105

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MwYqHAPDV7cqKIeyFQrBYM6XzfJT1aCe3FubjP1JMDIiiJfNCvUGO7ACXlcOCtLyloijh0xAcUdPRphUg2d+WpNmVlfMg7FYatBWkW7KenkDSWOlXD3/sbTJIIUdD+mNxyN43AzxNuc/4xPTa9pLgDEaGxkEWQWiQ6hHoqOdY0UkpA003Dl2+488U1cOWhXV
   +XelmoK1QtMnM9pfRYSPTPnkf4zrJeETxxhRv/q466gwgxVCi+s4TZrR6VnHNXFxmwcFpDI3dtuyH9D2ImNinl2rTpdjQ0GJePU1ci5WLn7sAkjc8f0Q1l5kpCU7SFFsN/ibBH5QY7uLHNvZFzL6MA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-24-May-2023-03-31-31-GMT.mhtml

   Hash (SHA256)
   0b7b82b283124f7ecd75f335bc23bdcfc2575f6d5a9322ae497c6766b0825d45

   Signature (PKCS#1v1.5)
hQxIuzYbjpryPIqon/oximaLK9TbyHYSwuRoLe0F1N7VmqKeMNLCiQH/31AUPDoBuFI9nQi5JuDFUoh7dI2oujocQ7qWEvSUshFP0mAhS92wjhOwltCzzBgCuukMWLXCZO/7qTWFU6/UFsLL3qxlx7E+MwUktJpdXsgEiJxKFWH7Lly9ZawrImUxGuBgnJ9vu6+FtVbYuAqDtLfipGt
+HhLfhYbgwsgGnyg8Xwn4kB/V+sRvERBa8SmBHxfj+uBaxV6yV1dnb54+jNm0baxiLvfkfcrrNnBeXyq+VW6UUMH4b1BzTe92zzkiBnvCzbg/7rfnweWeutZR0d6W3tyiaA==
                                                                                     Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 7 of 40



                                                                                                                                                                                                                             Investigator Name: Chris Stavrou




                                                                                  Evidence Collection Report
   Page Title
   Amazon.com: Largentolab Emoticon jewelry Titanium, Winking smiley face earrings, kawaii jewelry colorful, funny emoticon stud earrings, nickel free geek jewelry, girl fun gift, colored studs cute : Handmade Products

   URL
   https://www.amazon.com/Largentolab-Emoticon-Titanium-earrings-colorful/dp/B01C1FMVXK/ref=sr_1_199

   Collection Date
   Thu, 20 Apr 2023 05:22:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qFaPkh+Xo4obo7FTl2fdAnDYayN8OSMd6N2Qf6lhFhXRl5q37bFfrzZW8e3Ipps4MqaOWM7Ei/ejDwkgisZxs2KK/37WMVYCRlbthoRuZf77gbiZkitjfuQhLAOduUMoDXs9bgD9cGf7TjFUGiNlUoRSSQGZUAgDGPOnNHhuH1s=




                                                                                                             File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Largentolab-Emoticon-Titanium-earrings-colorful[fs]dp[fs]B01C1FMVXK[fs]ref=sr_1_199]]_Thu,-20-Apr-2023-05-22-43-GMT.pdf

   Hash (SHA256)
   17fc47fe8ed9a7ed3faafef38a92f39eccc96a3295b9333f90cbec4be32f785a

   Signature (PKCS#1v1.5)
E8xJuBQaMTNEcoRKDByytFytsOa89nJyh+LCeqbBjyVgzZ9/9uKG4qOKDTSd1v5XwdRRWuxO6DwXzX9zWQxw+B3A3yKKAiuDgdVMtpcJuTmO/Tcev2LHb2NCCC1I+zPGZgL4e1lR8tySP/aU7M9nQ8ykIw+eNiw208QISLwis2g=
                                                                                Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 8 of 40



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 15:06:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MMOTUKspjV47v5OsDVGAK0HrXi7k3XcQsDSoOHsBM4udreEuMCpJw3x5StO9BfP7Rh2+I6wWPM1a/GhdSXjiw7RhWVn+xPcTWM9uR1iL0PzFKPp2zvzZoVr
   +5nR3gDScCDRBxSUOpr61hMLFavTZY5fqZOCntErr7QR2lYhVpVEUlxJIIdryeeqzYN5nvVGXh0wPCA65wpHIFs9kxsa0lRt7Ljq9D42RmzsHFUksksO5wDPMRa7rUqkOBFqXApYqYAvg5DgozKto+7zodyHo
   +OYnbEyZbJYR23JlUV3Lj45zb0TF6mGeWhM1eRNtNstxVv6EFoarxCl933Z1kqAqBw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-15-06-11-GMT.mhtml

   Hash (SHA256)
   d8702a9915645ca65c32ca1b8fd6c112c1b0067abfcce6078744873e5f6be8e1

   Signature (PKCS#1v1.5)
T8XBaEQKwuny3NqxbzjwUCrg0XNXmbpe80OgcAbScngcYf++W48piq9xtfqLawUJ60iaKCFZo05qK7yUv2FBXpqllmQeLd099KKpjH3tpo6tFvTEZ30uZ8VEhJdH61PgCtqEN9E2CX5nhAnK8KIoR8gt4QXt1XsbLNy8vW1p6vfp9UcexIpqRKX0cWWNUDsLxmmGG4zCuH7KD6gVI/
IgMmun3WhFy2fEZBiGYC8yCWQZjT1Qf2YdBYgyP1D58yE8kyasvgc5hfvtb/Adu5jwGdFRqMIcjzOv1pxJ/tBGcRzbvS5PM2Hfd+RWTrPhrHrnrvNJFyXvpbxXoUOwwc8zBw==
                                                                                 Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 9 of 40



                                                                                                                                                                                         Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: LIZBEL Corduroy Smiley Face Makeup Bag, Smile Aesthetic Makeup Pouch,Cute Smile Face Organizer Bag,Travel Toiletry Bag for Women,Blue,2 Pieces : Beauty & Personal Care

   URL
   https://www.amazon.com/LIZBEL-Corduroy-Aesthetic-Organizer-Toiletry/dp/B0BWRLNFFF/ref=sr_1_192

   Collection Date
   Fri, 21 Apr 2023 07:48:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   legrKCqbEOJiopNVJYO+tcBe4TQRO1gBFujoUQlwuLrX/vYbL1cYyQWoVcCjKk/xUzLCdkrwkFURbMjfeSxxTSy7RE+LNELjBxieSnQuRruUPYZRu8MlEVyEQM8haHusekt10kXCicTHa6Blc2XqOx4rp5GkdsuN3tmv2PHgn/M=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]LIZBEL-Corduroy-Aesthetic-Organizer-Toiletry[fs]dp[fs]B0BWRLNFFF[fs]ref=sr_1_192]]_Fri,-21-Apr-2023-07-48-56-GMT.pdf

   Hash (SHA256)
   4348a6446604f37b50565840cdb5d1c6e6b9a49ee828feebd03453c0bfe5ddf6

   Signature (PKCS#1v1.5)
HwLZUutR+eMnIYFOAfW8Y2LbHe9NbjtAXDRdW59zOgI4q2uizaSN1XG20wouu97JEGNRcRPRTBkJF09nWpFGugWb6opLm9OUJGzds3BRJLyQu9wyfXsYFCEOBSzbLGw/B7qtB9XidOlmFAhMGOEd9tNY8ip0993kSf/e84v2gWE=
                                                                                Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 10 of 40



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 22 May 2023 08:39:09 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   H22n69XK1PZY9luuc7yfLj/C63Dqq/ZOjWLrHzb0N7oP7u26W0xEIx61JwB8GYr6kp0X96BTg1+2GRtQxXMf/beqb9GQUb9+Cii2t9dnK388cJbcBnNCzUyMTMUjVcwvHI+XJsUJy3qiHGZIj89MknRVpsOLGQykgtwI9PUxFRgR3Qno+qsrz56kg7sSiY8IimWuEmNHi
   +IqfsSHhFIxpq4qJY/39Miw1XA7cpVDvV+bAqGaKl+3C/fIg/yeWjpJpHhfFIg9zpSUJ6veqe0n8u9pAMefHT+A4caQHgUKMLya6/H+t6B3uJ8GEYmo2ZAAHZ1UTT/OXwo6yUF08Yuo8A==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-22-May-2023-08-39-09-GMT.mhtml

   Hash (SHA256)
   e3c2cb9cff4b526daf2e1d8c0a139bcfe122971ffa3461b3c00666297189c505

   Signature (PKCS#1v1.5)
Y+3sGTXW8wHWuzzd84FihO7/A/C0e0uBchySks0VxJH+ZYIHSQ+cmRtuuS4WOlvr1tg5hvy8aKWUVrBmmtcEUAx8f3/3ESLLfdrXziezY4G1IoVBLFe0+F3GA4bIE8V4qQF9gLXwSkD8mn0ymAjNz4aHHXk0Bp78J8PyXuDFwPsN3ttKf9wcPqekBk+Y1OAE+/QznD6etI5R2LCsLvlumsp6XhH46I
+NNFmLvPRr/pbZErLFK8nOjgpkcA0ZZVPjISqGBh2wNZ1ojI7t0GjuQnH2D8McoGU5QmlzEyJznkvB3h74m3U+DVx/P6RcxKvVcde8VhaFiYk1tKL6c78Qvw==
                                                                                  Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 11 of 40



                                                                                                                                                                                                                         Investigator Name: Sarah Christodoulou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: Smile Leopard Sweatshirt, Smile Shirt, Smiley Face Hoodie, Smiley T-shirts, Smiley Face Shirt, Smiley Face Shirt Women, Womens Shirts Trendy, Summer Shirt, Oversized Shirt : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Leopard-Sweatshirt-Smiley-T-shirts-Oversized/dp/B0BPMLRF6K/ref=sr_1_191

   Collection Date
   Tue, 09 May 2023 07:40:01 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   chlhlWyyJNvxfLj1Ry7qY6ctfP4Cfzbt6vptwuR4s5HRgZXvQJ9xv4vkyem/CqrnF3vQ/Ro/eZC2cdFTJEuq4wHD8R5zZnj03z/Q+o61xuWR38ZyVDiaFXVhZkLYJBdZ6pwySPKLUxQctXXr77cwY+pdaCSgeP8s7ghKTozbcVQ=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Leopard-Sweatshirt-Smiley-T-shirts-Oversized[fs]dp[fs]B0BPMLRF6K[fs]ref=sr_1_191]]_Tue,-09-May-2023-07-40-01-GMT.pdf

   Hash (SHA256)
   e746641ef0beaa153316efa1537d8f72f3ed483759141b8e00da28f1322fa5bf

   Signature (PKCS#1v1.5)
MKdHUpcr7SDdf1bVPzquTriqdVY2drzVbp1IkVjGTFAClGVak6G8JmqNwwy8BRb0NWhItSajXfaHhcv2wgOB8uF8yQ1nsLVNU5JK3JJR3rhW/zS1bg6a5hVWSV6O+6jSeFfo3cHUWZGN1M7jYrdAM3vgSn37bcenrt2FtxSzGv0=
                                                                                Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 12 of 40



                                                                                                                                                                                                             Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 13 May 2023 04:07:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   YcRk6WU/sSDuNfvuXm67pPPJjE7VUZj4JeRJJaatJnEgD3xGI9oo/Kz2DcmwGoCUFpkwrI0jKV47NBqUdqRSDgp/MrNfy+hpFKjTQw78Wc2tqPVzBlvwZCWz2FRMaSxMyeaSTdAJmCercuxpT/4hgKita+nvViFWKllmrE/V+k/jQ4eOtzawrZRiUeVGAB+ggyZpGySE/HHh0AoAklAKptpfinaE
   +CpeIXmywtNZg7JYoSVT4sFpAAM0XDZQJ5ZpML5VD9uTS6Gdvh6ocUxy0Xs8bfKwiDOjDM6HHbBB/x4vLDGYWNJ++9PASCAS7r/gme5VcfpPvUl3nd1cuXKX6Q==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-13-May-2023-04-07-26-GMT.mhtml

   Hash (SHA256)
   25e1ecc4d879064ccfd942f04ff1f08184d026317869a8f26454ef3cceff01e6

   Signature (PKCS#1v1.5)
RodBVYzg5vPEvO/61GZv/lYhrvpmK/YXJnytKToPTBKsqNrmeQhO3GDcMmQ/g8SVvDDlVZ2AZ2woT+LXbegm1BppdeN4KM5esGplq0+3eRB8tsAs7M7kPuuRbimFypLNz2aKvf+Df5r
+NjLumVVBrD2xGuzT5z9jKrG0CF4bCHEMWzwphx27iBiGl233pAUXLbuiKUPQMlQOrcksIsxKBCJCNxcZmfs0z1k7eBAR4mDk3xF6XI7bQQJBq7RKGMGz1xMgG4NqW7u6MYp4pEonPpoqf9Wa4Jkk+y4MLsxTKguFTS6mgij8Q4Lrmmv3YrmnLkLczBaEzCLKwiKzMNaY/g==
                                                                               Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 13 of 40



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: LEHU Flower Pillow Cute Pillow Flower Plush Pillow Smiley Colorful Sun Flower Plush Cushion Home Bedroom Shop Restaurant Car Decor (17 inches) : Home & Kitchen

   URL
   https://www.amazon.com/LEHU-Comfortable-Cushion-Colorful-Restaurant/dp/B09W97XCCB/ref=sr_1_125

   Collection Date
   Tue, 09 May 2023 09:31:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   NI5aVtBedf3lktiCRvj3FbC8JfBqJu0abWLRtQhCB5WBXlMf3fEi1HhAKztuDZ1ep932qlvDRP5XBgEgcjo1dVYa4Mwf9+ryMl/GDYGsvZ17faaAZkQhBtVZtm5/+NEKAvFbbgR1O/Fo/GckfwDH7MozI5/7CvVqsXNgRd7152E=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]LEHU-Comfortable-Cushion-Colorful-Restaurant[fs]dp[fs]B09W97XCCB[fs]ref=sr_1_125]]_Tue,-09-May-2023-09-31-38-GMT.pdf

   Hash (SHA256)
   bf8ec5638b2bbb52527664a79c9b93113528141ad7b43c6a7f6f5dc3820641ea

   Signature (PKCS#1v1.5)
fEuR/zNPXrszDN3iStCfVfDbeAc6Ndo7kc9ZnGEnjJxNoZq4U8RIPYiV/eAftEmcj1lZ5vf+IVcRZIkpFf+L5FzJGAZ6lYLuXrIOpBhhQVjPu8wPeqHU5myeptLp9ETkSfvb8FCqMJMkwZAQjrnAFrxAz7YT2mS9PqE5RBFh0JM=
                                                                                Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 14 of 40



                                                                                                                                                                                                            Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 13 May 2023 17:23:07 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   IIdMYqKgm0V5GFg25mqepdPVABGlVF8S+7pTGO5U8WzBMB6RsfPbdoivAbF0jpIEgQTHO7JNiOni1D+6/dNIH25ffcsNAT4fYlzIxX35vmzEGge+4xPBBHPE5N+9pyvw4p8nWdILjyGQLLG0GU6EA447QlgaqMFNZvugltjlU5zQt4yvm9oRN/foh5F7AEuEhqCnbFOSYe/
   oaX7Qb5Kxm6q3Pr85Rk+Oh1Q73Uo4akI7s5eQp/A+EAOMM/tJCEPO/UDkmd44H5NQc/fXi1j/EIlPsFPWbJXx/Y65tZbHn6zyqrBR3Khdm/+/qc1bk6DHGV8hHcjPOIY6r5d4jsykrg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-13-May-2023-17-23-07-GMT.mhtml

   Hash (SHA256)
   535cea130a5263e1df867c76a83ce3b0081a17a9a31d86a4d3a27a576d6d98ed

   Signature (PKCS#1v1.5)
sFcrGtTJSVcTVMSjA/DKhxa3HQvgp1tGU1f5/1mPzVbC2g4paGgm+zmgnxbl8kX/Ha4CLTxt3382YiK7eMcu+A+MGcXlP4UVz1VYcH8DUH3y/7DeJykwL0n6B74p4kHPMG/gKb8cv6Nqy2pgY9rbnhcaTwHQCG+F9tSLQj0qAXsRPRQ/
XJj4HB9wZpifie9RbXtlA5n2DSWkJ8Fl9Xt9TdUojE3b9aIbugha0R+E8ZZ8frrQe62+n3eP+uQb6WsLP1dFxI/A+U9blgNd56aksgC1EEGSh3mVIPh07RY8zl0ZJgJMev0g3D3XiI7YcaZG3XFm7Gk+gupWo4rx5RZIWQ==
                                                                                Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 15 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Evil Smiley Smile Face PVC Military Tactical Morale Patch Badges Emblem Applique Hook Patches for Clothes Backpack Accessories (color1) : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/PVC-Military-Tactical-Patch-Accessories/dp/B0BWWKNS7Y/ref=sr_1_150

   Collection Date
   Wed, 26 Apr 2023 07:48:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ArG26psND3kklvjaZeHBqJCua+lGLjRMivRhFURU6LdIhLwQoCqBCJ902Z5F6pIEFDm9ojxajfQfUMmaWHfGadthNG8Yq+mtQowgMHCybr7wmOywFLcSTp5dVX6pYp/XozqWQUOHFx2iRB6wIYXitA8Nm4fiJQURJ9ayI5oUkUU=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]PVC-Military-Tactical-Patch-Accessories[fs]dp[fs]B0BWWKNS7Y[fs]ref=sr_1_150]]_Wed,-26-Apr-2023-07-48-58-GMT.pdf

   Hash (SHA256)
   edd6116c52258cd69417a338f45636c50910be55302a4cc0e576e63e1a924f28

   Signature (PKCS#1v1.5)
ZITa0/3bCVVDk85C8JoqpcTIveGRcKqUM1k0r40nQyhOR9QsnTHdsTBXAWORAd/6gpnUAI2PBh5DWNZfHWHdKc6gamyFPgKtZL79YV6HJsCVgpZnamR8BN+LhhjDpKTGy1C2uClETKUTGCvEvTgPkXgqKMAjq/KYGTWJiHve3i0=
                                                                                Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 16 of 40



                                                                                                                                                                                                                    Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 01 Jun 2023 14:54:32 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   co4ZNgB/HGpf55/zjRx04jOprr3r/Aq+AMshxr7tyQCCWEdriMiNlvmfb7hxwrRQhiCdhkyyRKuCd9d1TMJY4QkPYMG7FrhVruuzGuhE3ozn9f9meog6Ebe8s+ibvtpO0BjX0s1w6UYW6WhPnG/2UaROP+
   +TPtlbLGaQoiHLDx1qo7OWSc1rHU8JiJ0whs0jsEE3Q6Nz58iBRhEQecrmPOI3g49bfuPpG9vWwMgnMTEXXo8rPoVYFqU2TEZP0M6zCYnxv1vPdH4TcuLO/x4z5BPWK00JDsGOU9MiqKtpeHyMzB8Lkt5ot+qQ0+onv4siQFW4LyPLJ0S7wGBwhOCIuw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-01-Jun-2023-14-54-32-GMT.mhtml

   Hash (SHA256)
   9ce89d5bac63df7e0f34ad1d3719eb2894ec98927f122beb6a38714aecea595d

   Signature (PKCS#1v1.5)
CDbKdXx5sxZzoGHXxgncJZsDrLbBPIy72oYSaISP7N75+L2LH5ivifIFbgh3C1/QTb0oZN+0K5UXiJNlw61cLDBpeta2a53iPqjZIFbh4Oi/t01+bNMGXU05mUQU6+qb9XewH+b85Gq+Eez3fZivkrADKqlSdZYYwN8bLjNRGsBTU+Zu55gUdEx0ja7r98zb3lTBvNhCZXpIFChGcspMkdq54wlvsD7k/
m8O/+8lKHEQWD67ZsYYTqbfpWTmtR/f5+7q3q9kluZCsjnLtYjf3b3FcvSW/RSptjQZyCs38il5+BF/ELPBGwNz+wbhHOSwEEzzZPO58UIgTY+S++y32w==
                                                                               Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 17 of 40



                                                                                                                                                                                                        Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Pearl Choker Necklace Cute Flower Pearl Y2K Necklace for Teen Girls Women (Smiley Face Pearl): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B09MHHNYCM

   Collection Date
   Wed, 10 May 2023 06:29:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   is6HIFmP0fYAgCnFwNg4XQTWT2HjDs2bJb2isyYry7vCIqRZxltkIN9prgqu2LFCS9EBnnMyhCaIXHzLnTGofFZk88A2fqZU/9lKfY3Wayq2eFHNGv24iGUJbO8cQmLzwprZGC6GTkHTaUelhn+ZhF7h4ArY24HAoVYMxq/sAv3mESSdWlhSgxTxi4Ty
   +Wfl7Jj3tSRVyujarOMRSf8HmEdbJYBKxPpkM5ojlswtBV6oddGTSCYU/2f644yCswjsGPKynySC7hf24K/Sb57UxtbzrCSrDh41u3JokMxIqSG0Mvw8CabQN8/v2IGTvUExgs2ovieWyUgujj/kRH6BHw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B09MHHNYCM]]_Wed,-10-May-2023-06-29-21-GMT.mhtml

   Hash (SHA256)
   14d6b950e43c9581538165fbadea1cb691604872b9350d05182052bb022a2106

   Signature (PKCS#1v1.5)
Uh+aNbh+CGqAACMF9j8+oFggxg8EeOJ167r39af1OI48NfamjQZknkGD9r0/XliDYSq4Umz8xIU6nvlXtiFV8mI6F34ltGe/PEmArT2IOeCqNtTwKLl39Ja60FNPWnGe4kS4usqmQh0f0A65yzx9kpcMdhmKN95iMbrdO2nQHQbs3SlWF/Z/xFwPRyQFbf35iBTirQCB1AEzWPNwVXXFFH9wH+32y8e8t
+/mvzKD+lZ2XllqYTxQ1rH5dQd/qYeh+TAC8Piyu3w4/lo+FqVCXiptol00aLHTgsZY1wYdM2NzmXctDJ5knX2Y7wkQA9YidCIoYVPfazmkmeQHFxSK4w==
                                                                                Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 18 of 40



                                                                                                                                                                                                           Investigator Name: Sian Kelly




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 08 May 2023 10:29:41 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KdobtHFLnHokg81Jf79pjTkkx9oCpf+IWlH5AGESUCazilh2PEkCsBSIEK160SMuPR0PQgKpy9bZmv4o3AmehZUtm7rg5V1HB0Jn3TovQ/HWjrpWpX5U3iZ+A4q7YKTuT5bwuQQbgQuGcMGgGuAOn5+wgS6MDZuOWd7LLleO83EOcduxUUoYarii38gY11nC56VTlZe5BWpHFiPV2YoqJ
   +tQlIdQfpTrTgs+y4Ka/nqhJh0G11iRF/aZWUH6oz/u1v57U01TiRogizPP9HGk1CZc+5h1n4CGxZkAhXs26EPUTMjaEnvyxtYtF3oDafJpO+/r0VmzrWy5sJKVyWBc6A==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-08-May-2023-10-29-41-GMT.mhtml

   Hash (SHA256)
   190e01fa3b901f23e85b7e452db9e194f42e8616cf6d4dd1b807444a85e43e31

   Signature (PKCS#1v1.5)
qLYbx6VMQDZnSk6v4yuwgXOx/zC8b5VCpnsBJEE5cQ5bOjnCVokAd8/n5RX1FxIqXh37M+Sp8o6gC95KcgXAPEvM42Rrv78gkLXU8o9O8GoN/R+zOCSPlOhML6hGu6a78VYdhNPhJHo1mgl6ONKWH4PRfD5BzUkHkT3bbZjXVnhqi6c
+nKtUybxyNhvyEHQVuYbPIA6W6myDPNUO9X6QRcRnmUsnyTd4KUYi70lAfLLVkpZ4O29+6gvzNo+Rba+dKSpzDeMptSMAVY2QaIwZWto8TNeDRl4yw4xbwDU9Dd4CU7UX8NczzlNh0Q/YyLz7yUCkDGkWs/caupZa+BE1fg==
                                                                                  Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 19 of 40



                                                                                                                                                                                              Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Nail Art Stickers Flowers Nail Decals 3D Self-Adhesive Nail Art Supplies Designer Nail DIY Decoration for Women Girls Kids-Flower Smile : Beauty & Personal Care

   URL
   https://www.amazon.com/Stickers-Self-Adhesive-Supplies-Decoration-Kids-Flower/dp/B0B69F477T/ref=sr_1_172

   Collection Date
   Wed, 26 Apr 2023 05:19:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   h6AS5PeP8rFfh7JuqFln3Xs9vSnajSzVASsnVIvVycWBFef9QdyLlgXWuD1jybfqSeJGND4kg0OSHZYwg2A5pPI1qcwP6nzn7QwozpqkltQMPzaiHgJjKkP8bfujzSH6TeEwhZL5OplK2++fwEsxjkf/E0msb0bi4x2k/Go2HL4=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Stickers-Self-Adhesive-Supplies-Decoration-Kids-Flower[fs]dp[fs]B0B69F477T[fs]ref=sr_1_172]]_Wed,-26-Apr-2023-05-19-44-GMT.pdf

   Hash (SHA256)
   2eb92d550b232e276fb3abd0f79b4b94ff0ddf48ac3b9fb80022e03b4bfc1837

   Signature (PKCS#1v1.5)
cI9cy9C2EOtH6ue5AujcW52pwkWAhwBVBB7I5Y3Kj3nBelAfGBCZlbyxnFwIFtK7fHBw5SsXzHkEDoy2l4lYsEuZm5sRPqQgWRVmzU9HMqiigauN6XP62z0ruEJ7nTQxEGfFrN27CXS1+aNT3pOZTA1C1q56aE+pzMpEcPNptHw=
                                                                                Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 20 of 40



                                                                                                                                                                                                          Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 22:37:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   AbHhw7g8zmKncRV72QNuQTvLiX2RyDTzOnq9nbEsDK+cGGTcWQRgL/F+U+T2oaN073DCBrSV5y01+OYbBX9AmN5ZZ1/TlVq+Eh4B04W72UF+PmbjW0OHuWnshb2yJON0XAFBofdJk1IQPd/h14ZV4GMzIemJ+NGGGj6OnazgBnTI4VUfzxPRSEU9Ts8QrUkZsiKa0oPnBgZo1/LxeBU/
   WTIZw6W62FHsDjQ8dx3hhRGXTaAZTzKjSj3k4mt75oY8PxB5m40QAqFrpGSJsd9ib6XpWqonOFZFC8KYk1yFgRSmf0V1lvOR8OdCRcvxPstWRqPgsWD2QPfiJOdMoFsImw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-22-37-37-GMT.mhtml

   Hash (SHA256)
   8b1bae74a4050e212ccb813b24d0e51569ef593c360f64485d5a4dee20773487

   Signature (PKCS#1v1.5)
L0oTYYx4W1h6FzRNG9KEz6D40Wew4e43k2mOT6DTDCSUuKiiujSltwedvx/8XQYgViJQH6xoXcTLnOSa4T20/xKv9ekJJF9g9BDMIZER7oegqshkVhe6jfOcT7HtJhZdZCZkZDiKwEU+RWHgA94WQiUKA5H57I/S2h0UZWAL+H+X9gnkSxROmgakc4kBsMesGgHQQdNAmqC2dsUtHY
+NbrV0oKXeGXXhjMJ5Hl0sweGxG4+Mv0VZj2+ggWYHRnyg06mttb96gYXN6UI+WteI08m7p3zvCWgvu1mBttU9eLFTjHMeIIZAWsO8pA8FAJIu9ofshDRpRWQpYYxyc76MLg==
                                                                                Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 21 of 40



                                                                                                                                                                                                                                Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: NEGIGA Blue Preppy Smiley Face Makeup Bag Travel Cosmetic Bags for Women Girls,Inspirational Have a Nice Day Cosmetic Bags with Zipper Pouch Travel Toiletry Case,Gift for Teen Girls : Beauty & Personal Care

   URL
   https://www.amazon.com/NEGIGA-Preppy-Cosmetic-Inspirational-Toiletry/dp/B0BYJ9RGFX/ref=sr_1_97

   Collection Date
   Fri, 21 Apr 2023 07:21:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   b39Ig+p3kPfP36AqlXfchOnKJ7WRUmovE+N1cw7ZX12G0jiwP+cbrEo0+MkTvanM9vWQFA1EB5Bjj9vosf+YyBzPNaibXDMt9DF9IeuZIQn/MRS+mOuw8/UKU/Z9iwaNuSfY9kLfUecMuZzzGq3GCNERwJqRUfXa56cEt/96n30=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]NEGIGA-Preppy-Cosmetic-Inspirational-Toiletry[fs]dp[fs]B0BYJ9RGFX[fs]ref=sr_1_97]]_Fri,-21-Apr-2023-07-21-29-GMT.pdf

   Hash (SHA256)
   2810393827acfdf7045f15c7b42118af18995767026e2eb227ee93db921ac660

   Signature (PKCS#1v1.5)
kpx1+E0RS8dqjngfMxF5Zf4u9Xjxxu/eg41YIgl0TKramBCMKRJP7cISwSxNFNyc40qGtrVKAmvS896i8X1CJlbF8NI6S0RHFeX6jGLrF2dWjKt3V4qm8xPW1gvn6SvQoyjUTYtNiua6okhU/769OsSCCN4PeGm8PddgWudQYso=
                                                                                Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 22 of 40



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 22 May 2023 02:27:50 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.111.184

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   gUfYUUN3Rg039MKslZijKrRqxe1hpcGNRAMy6+m7usrj1Y1zz8EKFIYeq1vw7M5wC42mYYIe9CKBM2P4YLt3zYYY+zNX9bKHK4B8hJvWvBTxCH8+O1ICOPMhoya9puHzl5jSuNTOSy6QPn0iekCnnjzqHFgh7fRVPYvvPf8uXyMuESPptvVpacoNkn5PWeV2nJUuQUoYCfFZAbnqz95d/
   l0oqN7Xjxc4Ep2aeCqoT59IwmDLn7Lz0yi7yNg1RaHSopaQgtKExXKWI9qZ5OP9F3Dd2VkBmcl2Gmgbzf+AINw1qSzE28uhw0AxsQNM79/6h1TH3H4zhnWzmiWIdBiT9Q==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-22-May-2023-02-27-50-GMT.mhtml

   Hash (SHA256)
   108003758d02a802f2ccdf41a9ac3add08ff7a000c12783416140e9e8b49f22d

   Signature (PKCS#1v1.5)
pddKpN4G0uayUE6Pa45/CoJM4Y+I9c322BCdj7FRo+jw9SYkLR0ie2VpBUzpDBhiwruktIgEj9R3IY6h6p7ZmZkmn9My9iuzJ8s5L2ejsGPbzWbNN/qwg0eujuqwSLlPiUYeF2W8dV1UVVO4kJiR9ii/BKqMmdyJrxWt3251iRb8meTC86CuQ+1HFHWIi9iMWncCmrXkht1konV8xLmG7a0cii2ZdUM
+gzIIk8BQFFPAgTJUHX87/+XNIOdMLe8EsxQeUHSEekvhiS/BRS36E3ZtnPq5+j9pJ5G1da7kRkybtcOf7dRGjnS2oEU0tRmz3wKdHwtHz0HeE36Cif6hJw==
                                                                               Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 23 of 40



                                                                                                                                                                                                                 Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Compatible with iPhone 13 Pro Max Case, Smiley Face Cute Hippie Aesthetic Peachy Smiley Face Clear Case Soft TPU Full Body Protection Cover Case Gift for Women Men : Cell Phones & Accessories

   URL
   https://www.amazon.com/Compatible-iPhone-Smiley-Aesthetic-Protection/dp/B09VXTFTLP/ref=sr_1_38_sspa

   Collection Date
   Mon, 24 Apr 2023 08:30:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   aYduYSP96Z5P6qCkekCtd011e7uvgvWbK/BYgX1gEJ73j9B55rpswH1yA7iJkkA1sEaIZ8Zbq77viU72BnKKrHb1c7aFN6p9Ewaws3AC4ajK1cUfeUnhNkhOxQzRpvxna9waj4uY8Ei3xRefmvRs0fA2hevSBPK1wx4Vev6yE+I=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Compatible-iPhone-Smiley-Aesthetic-Protection[fs]dp[fs]B09VXTFTLP[fs]ref=sr_1_38_sspa]]_Mon,-24-Apr-2023-08-30-06-GMT.pdf

   Hash (SHA256)
   8365b4164ed77d3d0b208486704766befe26a9deb15815629fda2065282f464f

   Signature (PKCS#1v1.5)
QcLPQUTzJvHCicHiTZ0x0mkG/Tg/0OOjqGYJAhl0oYX7OLasszNz7n/ADX+BkonRc0Y0e9uVQuvCo3KVuSdbIQyfZHuF8dg0qymOg9PSAU8EC+0YXaJqDxGzBxah2PIKiXuk4MKqTKtE5ydlAPh8UdNtaMhmcfe622ooZgu116k=
                                                                                 Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 24 of 40



                                                                                                                                                                                                                    Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 26 May 2023 23:12:31 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   jr4hnxst/bns2Yf11zHGois6OUc1IEeusCO4hGef5FFfV+hvXJ0QJ2vEPLdBj2971wxEfQ6CfemjGFZpIS/RVkO7HcuYu2Sh1t6c2dcShNwN/jWsCVx+t5OYXfRbUf52NCnuk9cll1Uzx1gTPohAHCxa2EI8TFOIAEGeWLdVShw/DhXxoV0uEjBElmfSbA2XOwTuvNQ610x+0bzqqtaiRY+JD32/+
   +S9wHk0vTMH4nJ5OJxZeHJl0eM4ge/fw9pmOxv0SRO6ZFVus0WeU6JpuLLMwP3IAGLR8bS1Lfbh82OH3rT4b0kpybOYtiwUAstPEW/aKQUpG+P0dAyxWjB40Q==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-26-May-2023-23-12-31-GMT.mhtml

   Hash (SHA256)
   0207c4974269710e2c417da6e8335f3ab5951029005961dfb2c4e9254945a414

   Signature (PKCS#1v1.5)
GHH3kmCvBFVolc2F7mxF3yLbtihNa+g+VFxeA4Rj2HAUq3CC9lqYEby8e+rHE34laz2zQSvvJ3IqV9ebBWHk7D16xRZgxnhq9MGwza5/TK3S6LMn5OruNFG/g1mmsDoDTwWSN0psqbxx1UFqQU/lcguQbJhuF2zySzt/88cqvQ9VaN9lICxznN/KRlSu2J/aOB/
OToIBLrm87VP5jGuPfTGLEzma4DWwfRBvEIqanivAVb/3nV2iS+NvbJxS/Ki+HR6oNS1nVuOfEfm6HFoLj1xpcIkRy95Cv6uY08IdqfAtTKQZqEeN9HMmg3pz6LNoXA2NDGqnD9vFQYs8SkIrjg==
                                                                               Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 25 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   COWOKA Women's Casual Smiley Face Knitted Sweater Cardigan Button Down Long Sleeve Loose Jacket Coat at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/COWOKA-Womens-Knitted-Sweater-Cardigan/dp/B0BG7XKDWM/ref=sr_1_241

   Collection Date
   Wed, 26 Apr 2023 05:33:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   IXKvu36tGVIASgMfEA1ZcxC9CbrzXRE8cNK4sUiyXaMxcisahNpFPeQIfPQRMI6FUoy1ZeYZ4f0Cnc7lKeqE8HD7aRlKmUGSXmQjoyopS4ihymhsbXfWf2xALnnf1KHZC0RVD3rLBQNRWUXF1bF1Yi2eFsgzhkITbPzn28F3aMY=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]COWOKA-Womens-Knitted-Sweater-Cardigan[fs]dp[fs]B0BG7XKDWM[fs]ref=sr_1_241]]_Wed,-26-Apr-2023-05-33-27-GMT.pdf

   Hash (SHA256)
   d0bc86660987dfdb3a29f584ad98ee8147185b74232623b4b31c29a6739221ea

   Signature (PKCS#1v1.5)
okY1mi1xqEHZ+KMITkoo0S5x2qKm+BAvCfoZgco1DdTcGAUmPayejt2+bIcDEbdC9+F7Z6ss7Y7IsIfEYI0EgmstDGgmuBEUqxCNV90SFHosCkZyBiyZhG0Fzvcv5Oeqpund2nNS+JrS8a2X7Ke5lgm5yIOBgJpzW9sJrVPnQXk=
                                                                                Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 26 of 40



                                                                                                                                                                                                     Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 31 May 2023 05:02:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   f0WPCtpGBxFIrSaFH7VpM+wLIlD7cNno9PlJNEyZI1O2hz3aFPoJlcFLFnBa1UdQVBy5bJd0XYcrG/mo7MWNL/HHoPj0S6jO1d6XGLT/aZ4Cli6BSZQsVHqxSr+QdoH8Cozl72oSMZb/90Z0pIbnNJ/EYYYfpVktDcXXS7Nl0FD/
   u6GHcJMxEXIPR0dnRNOeaWA0ng74hiOHfVphQgpfXHGwfecPmEVVUedDvODhsGaKq131G0aQY+buQMzz5Ty9qjWmfamE71OnzxL1PwmzPGxAiLGrEPH60XrqnwxYGZG6WXDIoqXHTWxVU65ecEDXb093Ov/jaFRtrwbkfu+G9w==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-31-May-2023-05-02-58-GMT.mhtml

   Hash (SHA256)
   ea5f101d92a10897cd487ad0a06139e06a7d2252a2e9b1033f53b9dba9b25509

   Signature (PKCS#1v1.5)
nURZb4zHvC3FjvsT1xqtzVhM8dDdGmc7e26/hlr7kvq/PLEgkeLXO/
T9tFDJeEMaZg18s0Q5qdNbgHGEOdB0dXa8GsFPdkHYHpeezb9wUMDcWjvLsuctjdBOgyI91JCSZbGuUHomyuSME9fzOVv9QWaotWuI6ejVlfLLf2YZMIygt5kMGdbPlUlY13NbSyuS6lZWwH0vzWYGJT9RzghFpm5rBPeXW3ON7fw9uJUGaL8mqXNCDNRxlR6/
LxqeXUm242BonnNU30XFPBHR6GlL68/LZj9PRcW30gwex1MrM5BmX6kUYDenw8boBie/lrXolEECJGUIHAvYGX+glYgfig==
                                                                               Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 27 of 40



                                                                                                                                                                                                                                Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com | RDHOSUPY Women Smiley Face Slippers, Kid Smiley Face Women, Preppy Slippers, Plush Slippers for Women, Retro Cozy Comfy Warm House Shoes Indoor and Outdoor, Soft Fuzzy Memory Foam for Men Pink 9-10 | Shoes

   URL
   https://www.amazon.com/Smiley-Slippers-Preppy-Indoor-Outdoor/dp/B0BWMMK5W2/ref=sr_1_59_sspa

   Collection Date
   Wed, 19 Apr 2023 09:13:59 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MRG/N/r5DAkoKZHS9hZqgwCr6sBsk8wWwtyFuUZg3TCHGoYOs4/alltm/IWV2t5DP9Oa7rRaTLng499ZUWvD0j0oSCQgcQzVX6AeoMAuwbzluAqYpyr8XYOQiux1H/Ewica/imcsva0GZKkt+tG8+ijfg0D94puewDYYmUhJqps=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Slippers-Preppy-Indoor-Outdoor[fs]dp[fs]B0BWMMK5W2[fs]ref=sr_1_59_sspa]]_Wed,-19-Apr-2023-09-13-59-GMT.pdf

   Hash (SHA256)
   17cd79a17798ad470ac1d2a08a7b06c4f665c6f942d08c39b9568275b7ababaa

   Signature (PKCS#1v1.5)
CQFPQp8qnxF8nXPOm5J11qrb8Hl0QQdyxcxh3c1Iv6L5A2zEcumxtU0ubb1yDqNuy3xPr1BUFGVYrUWBD+fSCqaZZeekSQr5Sy7wXJHurKFG1taTQCIQTpbchXW6ILI/8jMlE096RLc+8ZclAIxcbIRI0JTHLMKNSTOIwJIkEaY=
                                                                                 Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 28 of 40



                                                                                                                                                                                                               Investigator Name: Sian Kelly




                                                                               Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 05 May 2023 10:27:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   mAzlJ2HzYdZdrw1UFwTY5hRlwEdEfDxcgGp79751oomW0KQKHV6QocYxomm9gNPtALUQ/ylz6GweYfm4hrj7QVS4Aq1Mo4WkL7jklRx2yvl1AwKHpfeUGu/bBGALzjTbGEYpt2IhULh+vj0ve1D2BXQgLDmyMp1dI8DzlEF0hucW8F1iISWeIqfsU7/2415luAAi0z7c/dZvKu57b/
   C87BFg5XtZq52HfMjwiJq5C1ZhMzbBTXUYtjhrfMBHJlnc5DCpi5qWm+NWR1MVDM24k5Or+dXtpoRXUw8Lv37JWHExu/+qhTzxHRhDtXErJ3wdP0kHl2jkeRSaQ824H4pGNg==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-05-May-2023-10-27-57-GMT.mhtml

   Hash (SHA256)
   a4508f845424c261bb8599d2d360f0aca956a3022b49609d035613eb42fe2c83

   Signature (PKCS#1v1.5)
PP0w3zM/UPEnYr+43E7Kw9wqEKHFRBbyOfII8TDEvdB9EubFcvGW68Ol6B0magGvGU2FsWXCSeBOPYiHs0BfKNOR1eCNKcyJ77hM/1434NBTHY0RmmsvCvsfzzavmm4p5AXhlRUo8Vlat8bfWdfi6CNS+ZRW7+gxpjM2uFeZEkjP2/
aRhw4DsvUgP22tya1l8xTiCOW8wOuAemWJTd1hj6VYuhzWOIm7GZFBJRsbgRHmlsYirai28O+ZhftrXc+w8mzd1uNLEHrZxoFVR64QYnNJQ6/MqzKv0cK7wcpTb/+GhtKj0q5IYadyvw43JWcR5zsnAH7YURrJHVi/b2ol9w==
                                                                                 Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 29 of 40



                                                                                                                                                                                                              Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: NANHAN Colorful Plush Bean Bag, Colorful Plush Toy, Sunflower Stuffed Doll Bean Bag, Smiley Sunflower Filled Plush Bean Bag, Suitable for Home Decor, Small Sofa for Kids (G) : Toys & Games

   URL
   https://www.amazon.com/NANHAN-Colorful-Sunflower-Stuffed-Suitable/dp/B0B7G8WD92/ref=sr_1_220

   Collection Date
   Fri, 21 Apr 2023 04:59:55 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   rFqCmlXJbwTj3QXMD0/K+HBOLjIk/K7CQF813A2xqbw8/ZRu4ST9+BQdzlr8UO3hD7MadnEhWJ0Ta3U2mVoegFiIR152nceSIkJeoVUssc5wE+JYm70aEETAm9PHzFVAmKHoVxMx2VrUN1auSsALZklL6Y+Mw/s4z9NOuiNVUAc=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]NANHAN-Colorful-Sunflower-Stuffed-Suitable[fs]dp[fs]B0B7G8WD92[fs]ref=sr_1_220]]_Fri,-21-Apr-2023-04-59-55-GMT.pdf

   Hash (SHA256)
   756833dc5d21a273c30fae2d2d86f585014d3bb0620cc7bbdf2b1b63af5deb9f

   Signature (PKCS#1v1.5)
hO6oNEeX8HdYzNpsmT7AUnN2shubgdg1BmP/tTGPHpJDrOvLuRwvzbNP7pWJGL/cbflnj09khqGNel9NCt7WbM/P44H/x88Foq5cWMrHqs2m2KTc1/mcpg3eSpd8QvBY2MZYC2Y2i8bve9Pr3NFYXEMiFcod7d+GIa77fXeoJjo=
                                                                                Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 30 of 40



                                                                                                                                                                                                          Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 20 May 2023 07:10:49 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.96.16

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   fiI0eMJrwWmglwlmajLH4WskHykdHYfq1U5LI3JX7WGlWWEYebZw0CgfOmnTDqTJgHRWuAGD3jEvRGTpjiyTYuW3xstPSvfOV+TljdpmpGC2/F02lw3beEyx5JKMKVODXqsCuXkLyLge7uoDeUm3bU8KmDJRm/LVjq461LKqPgVE7X12nXKraTa/
   hgEI8rTMpNnIEsSXV7mikKTpOzVZuR4DMifbajfUd8yMaRWmaGH+FocDuMvGnOSxainabXb9rX/oP8cYM+aN3O1AH96nLqm/JaQ6CNMR7jZdsjBkkMECDLebo3HJwmAol4guppXNDQ6ibcQ1dcJpQH3SjJ5J5Q==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-20-May-2023-07-10-49-GMT.mhtml

   Hash (SHA256)
   c5a4a57a5d00566d531d63d30873a26999cbacb8636e4a2df5467efe88f1a2cf

   Signature (PKCS#1v1.5)
VGaWKuOjMMXir1Jr3R5lmjFcpdRYCQr71od4yBTd5sKxjeCZDD/Natp7EuflMv54lPbd0sNKAG+bxkA4p5ErTqOM6LmKcxW6axs++e2d8tuINxccIM5ldF+9GJ10xNMBsZCRjloOVEnKNxqLFSCotFPXJvepV647+2TZnM9/yySm3I0mEfL3F61xBauXGQdUeEVu08X
+1nNnhV2YCxTrzZUhffag188ir5sPBOc12JlAFfAEwIaj63KExqwCxQ1IZWP6mAZUKbOCysBq+3zUn3XtSdGhO7ye8HVrdsBwpZCFuyiyc72a9ZmMx3tddCj447THSYmX5ag5mHBw8IuYRQ==
                                                                                 Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 31 of 40



                                                                                                                                                                                                                                                   Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Inspirational Birthday Gifts for Daughter Smiley Girls Makeup Bag Cheer up Gift for Women Sister Encouragement Gift Cosmetic Bag Christmas Graduation Gifts to Make Your Friend Smile Bff Cosmetic Pouch : Beauty & Personal Care

   URL
   https://www.amazon.com/Inspirational-Birthday-Encouragement-Christmas-Graduation/dp/B0BZ81TH59/ref=sr_1_118

   Collection Date
   Fri, 21 Apr 2023 07:23:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   gnzuSSUhjeVNFZaQ9Zg5j4Vs3tLI4tpedhSANNmBAK3tez4HcYQ/LqH8GOzrRHC5s/BJVoyEF5955W0TNTUH03ZSdUTqFEoLvWOpq2k6oq5T+29tgS3Of5q1p0PIQNH7VHOELgje26X5BTzCdOK1FjPbUwPWa+w5gGLa6sfx8zU=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Inspirational-Birthday-Encouragement-Christmas-Graduation[fs]dp[fs]B0BZ81TH59[fs]ref=sr_1_118]]_Fri,-21-Apr-2023-07-23-58-GMT.pdf

   Hash (SHA256)
   f52a225e2bcc0806421d4a39f113ac267307fb365abf0411be31d970ddc4135d

   Signature (PKCS#1v1.5)
rxNYo4nHPKQIHvPZDBJVlth09Lt07Fv0Ba8XuHJ0J2KwljhiObPCnsG/MCuB+7+fphj4ki/UKoanZrETZwwflN50vwQk9i50Pbwbb1L0cXS3KoSz4WTKUFo76yQx8pwI1XwDRLyUlJh1fwhYuEFHk/3ivXEfjIFMr1igp39XzBI=
                                                                                Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 32 of 40



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 22 May 2023 03:39:34 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.111.184

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qIREKdTvajRvW624WdCGpUFNrN16ZKlPMeqd+yDjuE8aw82pkd5JHjfKvI/41p2e6YpxxwiKerjB45pUw5mWRioljJJvlsCQRcpvuHv14IeaB5c4MG42K7X6mUMAMr4k52paTRSYFasDmFCSrEEgO2sqiIPD3BRZ/W1tamsJgYzAZ7ju81PrYLDEGsTfI83ZoO+Ze7rON9AA9D5sQ26jwWH
   +4rifOMCpNFGNSX8jmS27XSPOJ/U7Ej/lMlV5lDFBnHSggbky9fBHnoklRvXTUzuoKAwkqmrnTvJFRKxVD/dK5uFTd8udZVqhq/o3oR7OCvlrMQnIVrB9rwrp3xA+ag==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-22-May-2023-03-39-34-GMT.mhtml

   Hash (SHA256)
   d8cb29181b04bbd76f6f4472df97eed784d274e49e6a933f386b75af251a2fc0

   Signature (PKCS#1v1.5)
HiUT6eUy5qridTrlu8KcdhFembjfEnNVkQwi87BrAcherU9vKL2VQj2CnosRWPSpirRlqEe7jhBo6KaSfC9CLmAHDgkaPVcX6Z2TYi9JZlbGSieEWdBlXs7MtxWo94h6srKRQ/PmOaUWE+DcPxsV7HLpkCyFK/uWXnniUh6wAvV37dYairCNEmT54y4iCasjnBDHEcH/
OB64BdP0BOqitBX5C1qfWjIVyRpOsgeeqILOYgG3JMDrgczGdW8PMgyJQ6IJCebxMj3XhydzlydTQLjz8LgQ6sNRlu0wYdQ7JgDMnumRrDaKhMThS3wb7PQsh55/UcvfKb3/h0rKvPLDQQ==
                                                                               Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 33 of 40



                                                                                                                                                                                      Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   UTOWO Embroidery Smiley-face Baseball-Cap for Women Men, Cute Smiling Smile-face Denim Trucker-Dad-Hat Unisex-Teens at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/UTOWO-Smiley-face-Baseball-Cap-Trucker-Dad-Hat-Unisex-Teens/dp/B097HL6ZD4/ref=sr_1_76

   Collection Date
   Tue, 25 Apr 2023 10:41:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   h3xiwbSUa1ddod56IxLZu5my/5/9eZVQ0Ssxt+OVE/nNwR7flfK336mBsRcMyl+L82SFHAt/l2NoAYoO2NUKvwRo2LGgLTWNe4B/+WjhIRpUVg3Bcvttg0cMvgPw4LXbwpRYLbg7cPLqN+ckB6UO1v2ocW+KHRZR9tWFdeCeNbI=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]UTOWO-Smiley-face-Baseball-Cap-Trucker-Dad-Hat-Unisex-Teens[fs]dp[fs]B097HL6ZD4[fs]ref=sr_1_76]]_Tue,-25-Apr-2023-10-41-18-GMT.pdf

   Hash (SHA256)
   8d18ec14b6a4685c890fda1f5a8fea48c499a15599bd5765d3bc8f1d1f840002

   Signature (PKCS#1v1.5)
knkvbG6lPhYAtGzqCbs+nJpjPkxLXbe0EAzMKtU3h0IBX8gea+WgnviWqDVqqzpgN1ubRoYjqV0QgtTV6YRpTsF+2KWl9TzMT5mHgNIQU8MCl1nCrHmZb9bpbSoz0Rc1x6xu4MQNQHjWyPMGLRwJQKJjpoYr3yWCNuNbzVFJHA0=
                                                                                Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 34 of 40



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 29 May 2023 17:13:55 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.163

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Gurd3P5WJx1dHYY5lxZoRRATpw3+lzEX9SCpPmCFa8SOsAzq9WMOdQn5eMJb/4Jkv7zYgmgsNIMdY0JQ2SdGUQ9t479lFwtubROkA7pWzoaFw+fkTypHh2U41ENcbq93Zdx/
   JNPHl/6wNA1rJPs7i92gXrmcEgwItiWKUZzn7zqdi6UmUwklenabJpx5tcseDj9Evvr93odZBuflnJRCS8XwHyco8Z6gquJhDkss3bVPwVpRXsnLGIgjQsq9KLL8jL4YWnu69JHdZuu6JBCuttXTLziAgadgTBGMlTvensbwSwjUDfH2JcHlgC/MUBITs9pw6ruwYcZpZanHuupMLA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-29-May-2023-17-13-55-GMT.mhtml

   Hash (SHA256)
   187cdedbfe638b042129e1a2d4afa5eaa7b67308c8217894703461e130f4cf49

   Signature (PKCS#1v1.5)
hWvO7bP99+hORCvUU+EOdrItIKIbx9YiD+RPPXqbQ9IFsFWPd36RzbbBUcW4N3Tlw3TDGtcgZQafI9DNfb697X1VduETUq4RFEnwEP0bbkSOCIoxXHQqEP2qBr7o9vH91f1QAb0REQ8QjmmCugWEjf/oeEK2jYrwUJq
+S5TJbx8ZLCCYnUh1aM2hYy81vPbaCap6pw7GzYylkFWGVCK8nNj0MKCSdtZnk00t4SV+i0i4yLSDzdJWx1VWErnrMABw6TO/N658NmbLs/WKs+5p3+lGrsO/VmzHfSdo+zDJHaBtYqIfTdkleOJ4E2YM6rWMd0rVjlKHwtVe+nzyzLGVBA==
                                                                               Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 35 of 40



                                                                                                                                                                                                        Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: SISMIURRA Smiley Face Necklaces for Women Gold Stainless Steel Clavicle Chain Cute Cubic Zirconia Smile Pendant Necklace Y3K Preppy Jewelry for Women Girls: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/SISMIURRA-Necklaces-Stainless-Clavicle-Zirconia/dp/B09HX713V6/ref=sr_1_241

   Collection Date
   Thu, 20 Apr 2023 05:31:22 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Z5AgJ/gfcoU4x8v0WMRtVBzcGV90MVj7AA1EAsHyH9pkKsGpQoSydaNy/gdwddA5wPxLP1qHs21G5Q7k2/MKLkEXRWcW0kha0JJ1jpF6jZqLbdX33hxSKm8ErjGOG3WaqhXgCUr0CfXFcdV/CwDOnIXLbDXhfDOq9WVQ7bC1suI=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]SISMIURRA-Necklaces-Stainless-Clavicle-Zirconia[fs]dp[fs]B09HX713V6[fs]ref=sr_1_241]]_Thu,-20-Apr-2023-05-31-22-GMT.pdf

   Hash (SHA256)
   8c4195f5770a9fd6f78baf4e3e9fb390761507967e77b0414cdce9ced66e8c6c

   Signature (PKCS#1v1.5)
RAeGv4LfmP2+5Gk4jhi9fvTzpeV5epqtwTMwzCl3Houag6lMIsttYvUVTnJ+gkz2pPr4o2fDDza5/KU1b6PbrBWdveWh+edQ4lt0bBM5GrpIfCdL9lHGsjB3eTMJh7gbUK+1HzoQ2aPnp02IM+qSJeEm2yWKIs56CAsjFHDhkSs=
                                                                                Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 36 of 40



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 17:38:41 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   BQRbWPXGz1s0l8bAcAJhGay5vNaWNvaJhaPtonU+uzAH4YfrxIx5ExQVgzZGmW548vT9VJfdCsrYmEAbxXacViYWwQVsFeX458XDb4/4jbeWDcTmhCjxe7Fzlec4zFoqrHJnJ7u8ay6k1TuJdToUv3pZW9s9WGl2rWkU8dVhyvUe670RJPlvbHzSj0LX9+p0GK2NcvrbnJOnLgc/
   exLNFXLkl6LPqb+R97iJlMjYYKWIl+7hjpJjEXIvw2JGaLSvCf4IDYeslRqUuJvUdxoXyfUeLkklybuK0K4+xANa23dLOK2eZk3ah1esAGPmOB1frXJI5niyW0rAmLt+OW+qXQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-17-38-41-GMT.mhtml

   Hash (SHA256)
   0960f0776fee0213074f85d680288c21fbc8a92af4c3154c2eca4d40e621a08e

   Signature (PKCS#1v1.5)
frl1gZtupTG1TTbo8YtdYd9/LRaQYWtoG6gP2zSWp/nzXLHtGHEZh28V7YrtSh13r68z6g8b4Um8yNWFxKmkIAKqXCCZ3pOj+Wd068wx8ORR1AKc5KM8/CqH/FU9bykoLliWoyUj68QrqzlihRowcl1opFktl/dtTCogsEQJB/IRRbinCiTgyo3QL0pfC5nMxE/tWGuG9XMhSFDtUWDxr0I5xYAQBu3Z
+K7eYVC99imAeYR/s8YHlOCm8f15JFr3EGe63g5RNPHHwJKlxHLSqx3wTo6BF1glzMpICWVlCmKwuDTkbA2asX3WpLAWJ5+1qq43z4igEpS7MiGnWSgZRA==
                                                                               Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 37 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: The Frowny. Sad Emoticon or Opposite of The Acid House Smiley Sticker : Toys & Games

   URL
   https://www.amazon.com/Frowny-Emoticon-Opposite-Smiley-Sticker/dp/B0BJDMV3N5/ref=sr_1_183

   Collection Date
   Thu, 20 Apr 2023 10:56:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   FasQOi3tn294TLEoNpQ2j07+eQixbk9IVFRapLvrKqtmtiJrmolzihK/fGwNwOslqywt1Df+zvAnalJ5cOwFzJ/N8RjcKQWmID5fgY36Xc7dON0tpgTqLlcyUB/ePtQcEjYeX6TliJ26wlFHDk1Bsp91wgOAa/Hf3V9XIwmvWP8=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Frowny-Emoticon-Opposite-Smiley-Sticker[fs]dp[fs]B0BJDMV3N5[fs]ref=sr_1_183]]_Thu,-20-Apr-2023-10-56-14-GMT.pdf

   Hash (SHA256)
   f471c6bb8321725585f8fada6085828bc6da7c60ac3c9eac89879fa704c418de

   Signature (PKCS#1v1.5)
DGVOfVnZyH5DPcM3z2dH2jIudcEfQZhJovKPf5RGn+pR1qLFzCHiF7/mPy/FEJwVVl0gT0mFctWI/0UAbP0tgXqxjGvyfucmN+Y/+jA9/f1amXBSnDnnIr7zqf1NiiPYvx7go4UkRMajEwnM9e18rXOdNBtW/fDlebAjh8mgXBQ=
                                                                                 Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 38 of 40



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 09:41:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   FKw4q5fAy0qrPmOjuq5leEdvQCPr41IZ1lz9KNqN8OfYOLUBCsH6t2u12qd2jZ+oamM78+yt4IZaLrTieoyUtub0Qlatfq5K1U0vkc0z5I7mTi/L5ht+12Ih9RJw51r4pYpl3mG3X6pTKYizG5qiGy5pdrCMyUR8LfSc/
   l17VfRtXMbplbl5zm9BKh5YWC8pPxc4OHLzf4GQxs3aI8OX08ik7FDZXfantQgjMZv0THChyOzULyC2SgDFYERDY1iZo0TXrGyGdZzk8AF/3dskJJKbXgJdUONKYNsfjfmT/XcWhAgvQa/khxe4LZ7c1timnXRgsEURhVliZTPWgEe4kg==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-09-41-48-GMT.mhtml

   Hash (SHA256)
   24e1f90be7eb21a9823e6fb7ac76e46aa16333d8a585d28f2d2d548806eb7c77

   Signature (PKCS#1v1.5)
oVY6AfxQZRVxwMyNIaYvzNhlYQkSiTMa/mtp4B1rbtaaCk82GJDANtksuudYHjJS/eVqZ67e9Es2zOf5AXOfWjX3qVL66Bro51OAzPmBe9h+xRHaDAOX1gycrhs77ZW0adpwZ/S2Nv+ITlx5foojuB2TPFfnS1FH1KparyA7dLpnYMDc7EvtXedn9R9obdFL+rl0RiZ/ye8yXDfQRrizWRTbXRP+l/
IE37YLMepDQWCC3OiRsulVGjJ1M2tXJGv23yA/fZnWbF/xKwPojn3tlWfOsUfjkiJvfTlPy6pE3SZ3lFe36b5xLnJ4ld5DtgYIui8eixTtheb6vHSUQI4wog==
                                                                                Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 39 of 40



                                                                                                                                                                                                                                    Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Pendant Necklace Silver Layered Necklace Titanium Steel Chain Choker Love You Pendant Necklace, Women's Pendant Necklace Choker Necklaces for Women Girls (Color : Silver) : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Pendant-Necklace-Layered-Titanium-Necklaces/dp/B09ZT4RGYY/ref=sr_1_121

   Collection Date
   Mon, 24 Apr 2023 05:43:30 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   RSWzyU0eWy7i41U79ObOHv2QAn5Cg02KTdJ2ICJ/1aoLHdVKYXAH7+5TCoFE5+z9Vd7enPwWhAvm4bVX9Z4Us7RglGbee1L//OBSMvRtASyKed3ZdasQB1j13b0HRQKm1iqgfFEJHfO4fwwI8jgIzYbJu+16UQeeUBu/B4FaNxA=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Pendant-Necklace-Layered-Titanium-Necklaces[fs]dp[fs]B09ZT4RGYY[fs]ref=sr_1_121]]_Mon,-24-Apr-2023-05-43-30-GMT.pdf

   Hash (SHA256)
   4218c48af854217a31be4f5ab334392bda0f7125026c950678c968e7e4f421c3

   Signature (PKCS#1v1.5)
kkK9lEFejP2fu8BugX9nKHh2lkHlbIH8WAcoxfoRiSM3hXilwKrGMSxgpzeeVZFlxY4dB6UfDAvJ0zBGmzy2ueqZ2xi85BW1xmjnk7TTjwSvjullgbZLgTDdXVT+kzpj2fJwKOXwR0zUSKZwJ8B0lJYz8ugrkQrNYD/EG3twZQc=
                                                                                Case 0:23-cv-61203-AHS Document 36-4 Entered on FLSD Docket 07/27/2023 Page 40 of 40



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 25 May 2023 01:41:42 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.105.188

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   dUfB3NP1akFoHF3Pg9+sewREGZlizK8Ia/ol5j2I5K5r+IU7e0+zEfu5Dy2mOd8igR8SP73TKXGF+YGtODKm40fgmizNoHpmZvRQLiyIX8ouy1cwlC2oyrlUVrZ6CfCck6Z/3QkVMWDZsX/ei2grWQFgPpYwckyeMPCLdRJ4qf/pEtm6MfVCN5Yc5Fa+Ctovvt9efmoYLqtxhHh6tbzBwHbD/
   X0Q1qRW1X8rA6A3KZpVzFH+7geSaH3Fucrpc/olw1KH1/8N8kIVduKb+EGKxPvDuLBxAl1MVAV+/M+9d+DVOvUgOTpDoojY2wwTygtkFxGOsjXXfzY76ZLH3doW8w==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-25-May-2023-01-41-42-GMT.mhtml

   Hash (SHA256)
   6bed21e68dc522f0769bb906c102e282777b3aa9ab6b694685b675751c95d088

   Signature (PKCS#1v1.5)
XHew3CMMNWrcdtRU0o8kGFl892q5enx5hFCOy2y16CRCMHWIP0zXsOgCrWlJSdrmicyObuSoq1rEFIs8FC0atjaZRGXZx2xM8dEi7nzWCtbzDnxtXLu2iz3UOg0HVlR43UcJrPFUBywi8CBXp6ILNOEqnn4WfAqOiTBl4DB/
MVQYUz0eWQ2p64Zb7RXgH0syEI2c3DUBAW8ux36cR1hDPz9q7iqrNCcFzjDIrU+y3MLx8D5FK2KbtZ6O2G0b3my99VgTxvcNOQgx93FUAp+4wv+Ju6ckJhb1ajXlF3x+92TphUu0ifwug8hnxbOKbyebHRGY9yyLsZQvOtR25EIFgQ==
